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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

 IN RE TALC-BASED POWDER
 PRODUCTS LITIGATION                                    MDL No. 3:16-md-02738
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                                                           [PROPOSED]
                                                        ORDER GRANTING
                                                     DEFENDANTS’ MOTION TO
                                                     FILE BRIEF UNDER SEAL




      THIS MATTER being opened to the Court on short notice by Faegre Drinker

Biddle & Reath LLP, attorneys for Defendants Johnson & Johnson and Johnson

and LLT Management, LLC, f/k/a LTL Management, LLC, for an Order permitting

Defendants to file under seal an unredacted post plenary hearing Brief regarding

disqualification of Andy Birchfield and Beasley Allen, and the court having

considered the papers submitted in support of the motion, and for good cause

having been shown:

      IT IS this             day of                           , 2024

      ORDERED that Defendants’ Motion to File Brief Under Seal is hereby

GRANTED; and it is

      FURTHER ORDERED that Defendants shall file under seal an unredacted

copy of their post plenary hearing Brief regarding disqualification of Andy Birchfield

and Beasley Allen.
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                                 Honorable Rukhsanah L. Singh, U.S.M.J
